UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

f )
VIRAH CORPORATION )
)
)
v ) NO. 3110-1240
) JUDGE HAYNES
)
EVANSTON INSURANCE COMPANY )
)
ENTRY OF JUDGMENT

 

Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(3) of the
Federal Rules of Civil Procedure on 10/13/2011.

KEITH THROCKMORTON, CLERK
sHEIaine J. Hawkins, Depu;y Clerk

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